                                     CENTRAL D I r n C T OF ILLINOIS
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                                1:05-cv-01292-HAB-JAG # 11
                                  B                                       a
                                                                  Page 1 of 18
                                                                                                    E-FILED
                                                                   Monday, 05 December, 2005 10:41:37 AM
                                                                              Clerk, U.S. District Court, ILCD




                    42 U.S.C. $1983 (suit against state officials for constitutional violations)

        0           28 U.S.C.   3 1331 (suit against federal officials for constitutional violations)
                    Other

        Please note: Thisform has been created for prisoners but can be adapted for use by non-prisoners.

                 Now comes the plaintiff,                       .5                       , and states as follows:




        The defendant                                  , is employed as


        . The defendant                                , is edployed as
    The defendant                               ,is employed
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                                                      # 11 Page
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                                               at

    Additional defendants and addresses




    For additional plaintiffs or defendants, provide the information in t h e same format as above on a'

    separate page.



    A. Have you brought any other lawsuits in state or federal court dealing with the same facts involved

    in this case?                      Yes            0                                No J@
    Lf yes, please describe


                                                                                                     .
    B. Have you brought any other lawsuits in state or federal court while incarcerated?

                                  'I
                                               Yes                                     NO       M
    C. If your answer to B is yes, how many?               Describe the lawsuit in the space below. (If there

    is more than one lawsuit, describe the additionaI lawsuits on another piece sf paper using the same
    outline.)

       1. Parties to previous lawsuit:




        2. Court (if federal court, give name of district; if state court, give name of county)
                                                                                            I



        3. Docket NumberlJudge

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                                                                               . A -        4 .     *"   , 4 * 4 t i
   r4. Basic claim made 1:05-cv-01292-HAB-JAG # 11 Page 3 of 18
   -6
 . 5 . Disposition (That is, how did the u s e end. Was the case dianiPed? Was it appealed?       it
        still pending?)

   6. Approximate date of frLing of l a k i t

   7. Approximate date of disposition

For additional cases, provide the above information in the same format on a separate page.




A. Is there a grievance procedure available a t your institution?   Yes   d   No

B. Have you Ned a grievance concerning the facts relating to this complaint? Yes     $       NO
 If your answer is no, explain why not



C. Is the grievance process completed?          Yes   d   No

PLEASE NOTE: THE PRISON LITIGATION REFORM ACT BARS ANY INCARCERA7ED PERSON

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JURY DEMAND                  Yes        6%

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                                                 ILLINOIS DEPARTMENT OF CI~RRE,TIONS

                                                          Hill Correctional Cente1

                                               Offender Outpatient Progre s Notes




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